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          iLoc: A Framework for Incremental Location-State
         Acquisition and Prediction based on Mobile Sensors
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ABSTRACT                                                                                    R&D attention. The capabilities of a modern mobile phone
                                                                                            far surpass those necessary for making simple voice calls. For
Much research focuses on predicting a person’s geo-spatial
traversal patterns using a history of recorded geo-coordinates.                             example, today’s smartphone includes WLAN networking,
                                                                                            a GPS receiver, an accelerometer, a high resolution camera,
In this paper, we focus on the problem of predicting location-
                                                                                            and many other sensors. Commercial and research applica-
state transitions. Location-states for a user refer to a set of
                                                                                            tions are already exploiting this rich set of sensing informa-
anchoring     points/regionsin space, and the prediction task
                                                                                            tion from mobile devices, and common across many of these
produces a sequence of predicted location states for a given
query time window. If this problem can be solved accu-                                      applications is the use of location information. Given the
rately and efficiently, it may lead to new location based ser-                              importance of location information, much effort has been
vices (LBS) that can smartly recommend information to a                                     put into accurate and efficient location sensing.
user based on his current and future location states. The                                      Interestingly, current approaches typically separate the lo-
                                                                                            cation information from the state information. For example,
proposed iLoc (Incremental Location-State Acquisition and
                                                                                            many social network services directly utilize geo-
Prediction) framework solves the prediction problem by uti-                                 coordinates gathered from mobile devices, but state informa-
lizing the sensor information provided by a user’s mobile                                   tion such as “at home” or “at work” is either not collected,
device. It incrementally learns the location states by con-
                                                                                            or not fully connected to the location information. Mining
stantly monitoring the signal environment of the mobile de-                                 location-state information may enable more semantically en-
vice. Further, the framework tightly integrates the learning
and prediction modules, allowing :Loc to update location-                                   riched information retrieval       (e.g.,
                                                                                                                                retrieve today’s call entries
                                                                                            when I was at office). And utilizing the state information for
states continuously and predict future location-states at the
same time. Our extensive experiments show that the qual-                                    predicting users’ intentions may empower a new set of smart
                                                                                            content serving applications. For example, if a service wants
ity of the location-states learned by tLoc are better than                                  to push lunch coupons for a particular restaurant to a set of
the state-of-the-art. We also show that when other learners
                                                                                            users based only on their current geo-coordinate, it cannot
failed to produce reasonable predictions, 1Loc provides good
                                                                                            differentiate if the users intend to have lunch or are simply
forecasts. As for the efficiency, «Loc processes the data in a
single pass, which fits well to many data stream processing                                 passing by on their way to work. By accurately predicting a
                                                                                            user is leaving for lunch, the relevancy of the lunch coupon
models.
                                                                                            increases greatly.
                                                                                               In this paper, we propose a novel framework called zLoc
Categories and Subject Descriptors                                                          (Incremental Location-State Acquisition and Prediction).
H.2.8 [Database         Management]:
                                 Database Applications—                                     This framework provides two components critical to a new
Data ming Spatial databases and GIS                                                         generation of location-based services, namely the efficient
                                                                                            acquisition of location-state information and a predictive
General Terms                                                                               model to forecast future location-state transitions. More
                                                                                            specifically, the primary contributions of this paper include:
Algorithms, Experimentation, Performance, Reliability
                                                                                                An unsupervised incremental location-state learning and
                                                                                                 e

1.     INTRODUCTION                                                                         predication framework (Section 4).
                                                                                                 A set of effective, yet practical, implementations of var-
                                                                                                 e
   The increasingly sophisticated set of sensors built into mo-
                                                                                            ious learning and prediction components (Section 5, 6).
bile devices have recently attracted tremendous amount of
                                                                                                 An extensive empirical evaluation to validate different
                                                                                                 e

                                                                                            learning and prediction components, based on over two months
                                                                                            of real sensing data from actual users (Section 7).
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personal or classroom use is granted without fee provided that copies are
not made or distributed for profit or commercial advantage and that copies                  2.       RELATED WORK
bear this notice and the full citation on the first page. To copy otherwise, to               In the following discussion, we use an example dataset
republish, to post on servers or to redistribute to lists, requires prior specific          to better illustrate related approaches for location-state de-
permission and/or fee.
                   a                                                                        termination and prediction. Table 1, shows data collected
CIKM’09, November 2—6, 2009, Hong Kong, China.
Copyright 2009 ACM 978-1-60558-512-3/09/11 ...$10.00.                                       using a mobile device’s WiFi scanner sampling the environ-


                                                                                     1367                 PLAINTIFF EXHIBIT

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     tid   Time        Observations                                        Symbols | Definitions
                                                                                     a stationary state in Z
     1     8AM         {homeWiFi, homeWiFi2}
                                                                                          transitional state in S consists of a pair of
     2     8:02 AM   | {homeWiFi, homeWiFi2, homeWiFi3}                    83         a

                                                                                      stationary states.
     15    8:28 AM | {PublicWiFi}                                          be         a   time instance or a time tick interval   (e.g., 2 minutes)
                                                                           A                   input stream
                                                                                          sensor

                                                                           Ut         sensor input at time instance ¢
     30    8:58 AM | {workWiFi, workWiFi2, work WiFi3}
                                                                                      movement classifier
             AM        TworkWiFi}                                          M          a similarity function
                                                                           F          a temporal feature extraction function
           Table 1:    Example WiFi examples                               a          an input signal source (e.g., a WiFi SSID)

                                                                           B          a temporal feature-value pair
                                                                                      atime duration function
ment every 2 minutes. Each scan generates a set of observa-
tions, also called WiFi fingerprints. The first 2 records (tid/,                   Table 2: Definitions of main symbols
tid2) are observed when the user is at home, and the last 2
records (tid30, tid31) are at the office. The middle record               Viterbi algorithm is designed for this task. This algorithm
(tid15) represents a WiFi access point observed during the                finds the most likely sequence of hidden states given a se-
transition from home to work.                                             quence of observed events. This is not sufficient for our prob-
   The problem of mining location states from signal inputs               lem, as the observation sequence is not available at the point
can be viewed as an unsupervised learning task, where many                of prediction. For example, only given the first 2 records in
clustering algorithms can be applied. However, we notice                  our sample data set, we would like to predict the transition
that the data is highly unstructured; at. each sampling point             between the two stationary location states. Without pro-
multiple signal sources can be observed, and the number of                viding future observations, HMM is very unlikely to predict
potential signal sources can be in the thousands. There-                  the transition. However, we adopt the Viterbi algorithm in
fore, the location state discovery problem is very similar to             our prediction process. By further incorporating time and
the topic mining problem in the text mining domain. The                   movement information, we are able to accurately predict the
leading method for this task is Latent Dirichlet Allocation               transition behaviors.
(LDA) [3,5,13]. LDA is a generative model that uses a mix-                   Many high-end mobile devices are equipped with GPS re-
ture of multinomials with Dirichlet priors. In our example,               ceivers. Unfortunately, power issues typically restrict the
an observed signal source in a record is generated from a                 use of the phone’s GPS as a reliable sensor. For instance,
mixture of latent state variables, and each has a multino-                continuous usage of the built-in GPS receiver will drain the
mial distribution. Although LDA has shown very good per-                  phone’s battery in less than a few hours. In addition, GPS
formance in text mining domains, there are three problems                 receivers may not work in indoor situations. Recent work
when applied to our use case. First, LDA does not con-                    has shown that one can use WiFi or GSM signal fingerprints
sider time dependencies. Each record/document is assumed                  for localization [4,9,12], which may overcome some of the
to be independent or interchangeable. Therefore, an LDA
                                                                          energy problems with GPS. These methods have been shown
model cannot be directly used in predicting future location               to accurately estimate actual geo-coordinates. While we do
states. Second, LDA does not have the semantic concept of                 not depend on accurate geo-coordinates, when available, our
stationary states, which represent the places where a user                framework can use the information to improve the clustering
spends most of his time. For instance, the first two and                  quality.
last two records in Table | can be considered from two sta-                 In [6], the authors propose an algorithm called Beacon-
tionary states, but not the middle one. However, in a LDA                 Print that uses WiFi and GSM radio fingerprints to auto-
model, the WiFi source in the third record will appear in                 matically learn the places a user visits, and detects when the
both of the stationary states, which leads to poor cluster-               user returns to those places. This is similar to the algorithm
ing performance. Third, it is difficult to incrementally up-              used in this paper for movement detection. However, unlike
date the LDA model, especially when deciding the number                   our approach, Beacon-Print stops short in using the move-
of clusters and estimating the parameters. Although other                 ment information to incrementally cluster the signal finger-
non-model based clustering algorithms, such as K-means or                 prints into stationary states, and does not combine time and
hierarchical agglomerative clustering (HAC), can also be ap-              stationary states to predict the future movements of a user.
plied, they have been shown less accurate than model-based
methods [8]. Furthermore, these non-model based methods
                                                                          3.    DEFINITIONS AND PROBLEM
suffer from similar problems as LDA.
   Since our data records have time dependencies, sequence                      STATEMENT
mining techniques can be applied. The most popular mod-
eling method is hidden Markov model (HMM) [7,10]. HMM                     3.1    Definitions
is also a generative model, such that each observation is gen-               In this section, we provide the definitions to various terms
erated by a latent state variable. The latent state at a time             used in this paper. Table 2 summarizes the major symbols.
point also has a dependency on its previous latent state.                    Location-state: It corresponds to two possible states a            —




The parameters in the HMM can be estimated by using                       stationary state z or a transitional state s. Stationary states
Baum-Welch algorithm, which is a generalized expectation-                 Z represent a set of repeatable geographical region that a
maximization (GEM) algorithm. Although modeling state                     user frequently “stays” in.   Transitional states S represent,
transition is part of HMM, the states do not physically cor-              transitional behaviors among the stationary states.
respond to the actual location states. This leads to poor                     Time Tick (t;): We partition the time dimension into
performance in predicting future movements. For HMM, the                  fixed intervals   (e.g.,
                                                                                                 2 minutes). A time tick is the smallest
typical predication task is to predict the best set of latent             unit of time. Therefore, we use time instance and time tick
state sequences for a given observation sequence, and the                 interchangeably in the reminder of the paper.


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   Sensor stream: A sensor stream (A) represents a con-                                  Human Inputs                   SensorSteaming Inputs
tinuous set of measures from a sensor. At a time instance
                                                                                                                          Movernent Detection
    a sensor measure can be viewed as a data point (v) in                                                                       Module
                                                                                                                                                        Stream with
a feature space      Based on different sampling schemes,                                                              Stream with                      Mavement
                                                                                                                       Movement                         Information
a sensor stream can also be represented as a set of data                                                               Information

points with time stamps (ie.,               In this paper,
                                                                                     State Annotation   State Tags          Incremental                 Srate Prediction
we focus on two types of sensor streams:       Agem
                                               and Awiri,
                                                                                          Module                            State Learner                   Module

representing GSM- and WiFi-related sensor streams respec-                                                            Refine/Update
tively.                                                                                                                   Stationary State
                                                                                                                                                              Current and Future
                                                                                                                                                               location-state
                                                                                                                                                              Predictions
                                                                                                                                 Model
                                                                                                                        ape
                                                                                                                        et


                                                                                                                        eT
3.2        Problem Statement                                                                                               Transitional
                                                                                                                           State Model
                                                                                                                                                           Applications
     This paper focuses on the following two problems:
                                                                                      Annotation                          Learning                            Prediction
      e   Learning problem: Given a sensor stream (A), auto-
          matically learn and refine the stationary states Z and                         Figure 1: Overall architecture
          transitional states S.
      e   Predicting problem: At a time tick t and a predic-                 to provide the needed information, such as prompting the
          tion time window w      {t;,...ti.%}, given a predictive
                                   =                                         user to confirm  different location tags when the system be-
          model that is built by using the observations prior to             lieves the user is in a stationary state. As we will show in
          t;, predict a sequence of transitional states                      Section 7, our learner can quickly and accurately derive the
                                                                             frequent location states. The system needs to ask only a very
   Obviously, these two problems are related. If we can solve                few questions to the user, which makes the active approach
the first problem accurately and efficiently, we can use the                 feasible and less annoying to the user.
resulting models for the second problem. Also, we note that
our prediction problem focuses on a future time window with
                                                                             5.    LEARNING COMPONENTS
unknown observations. Although our solution can be ap-
                                                                                In this section, we discuss the implementation of the iLoc
plied to predicting location states for historical observations,             framework’s learning component.
forecasting future location states is a more challenging and
practically useful problem to solve.                                         5.1    Movement Detector
                                                                               A movement detector is essentially a classifier C that has
4.        ARCHITECTURE AND OVERVIEW                                          two output classes (i.e., move,         Given a sensor inputstay).
   Figure 1 shows the overall framework of iLoc. As shown                      at a time instance ¢, it attaches a movement decision (i.e.,
in the figure, the three major components of the framework                   C(uz)) to ve.
are: annotation, learning, and prediction. While this paper-                    In general, building such a classifier requires a set of la-
focuses on the learning and prediction components of the                     beled training examples that reflect a user’s movement be-
framework, we first briefly describe all three components.                   havior. One way to obtain such a training set is to regu-
   The learning component consists of two sub-components:                    larly prompt the user to classify his movements, and then
a movement detector and an incremental state learner. The                    attach sensor inputs to these movement tags. A classifier
movement detector determines movement            (i.e., stationary,          can then be trained to classify the movements.       However,
moving) and attaches movement information to the input                       in practice it is difficult to optimize the rate at which a
data stream. Detection happens by comparing a set of cur-                    user is prompted. If prompted frequently, the user may be-

rent data points with previous observations, and then deter-                 come annoyed and stop providing movement information.

mining if significant changes have occurred. The incremental                 Prompting infrequently may not provide enough informa-
state learner maintains the stationary and transitional mod-                 tion to cover a user’s day to day life.
els by utilizing the outputs from movement detector. Sec-                       For the purpose of discovering location states, we found
tion 5 provides further detail on these two sub-components.                  that signal fingerprints work well. Instead of using them
   The prediction component uses the output from the move-                   for the purpose of localization [4,9,12], we use them to de-
ment detector, along with the the location-state models, to                  tect movements. The basic idea is that if a user is station-
predict a user’s future location states. The problem for-                    ary, the corresponding signal fingerprints should remain rel-
malization and detailed implementations are presented in                     atively similar to each other. To further develop this idea,
Section 6.                                                                   we  first partition the time into a set of fixed length time
   The annotation component connects the user’s tagged states                intervals w (e.g., 10 minutes). We maintain the two most
to the learned states in the learning component’s station-                   recent time windows (a sliding window) for an input stream
ary model, providing additional semantic information to the                  A. Ifa similarity function M € [0,1] is defined on these two
generated output states      (e.g.,
                               “at home” or “at work”). While                sets, the classifier can then be built by imposing a threshold
not the focus of this paper, we briefly describe how the tag-                value 7 on the outcome of the similarity function M. If the
ging information can be effectively obtained. Tags can be                    similarity value is bigger than the threshold, we classify the
collected passively or actively, or even a combination of the                current input v, as not moving, and moving otherwise. The
two methods. In passive collection, a server can listen to the               overall classifier                  can then be defined as:

content pushed from a mobile device        (e.g., micro-blogging),                    =
                                                                                           [M            vee

                                                                                                               Vi-w                               vee



                                                                                                                                                                })]
and based on this content, the location tagging information                    Since we focus on the location-states, the sensor inputs
can be derived. In active collection, the user is prompted                   should correspond to some fixed location regions. GSM and




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WiFi data streams are good candidates for this purpose.                     Input: Stream with movement info. (A {vo...vun})     =




For GSM and WiFi, we can define the similarity function                     Output: Stationary states Z, Transitional states S
                                                                            Local:           —   NULL, Duration          —   0
using cosine similarity, commonly used by many informa-
tion retrieval systems [11]. For the two time windows, we                   2: for each v; in A do
group the observations into 2 vectors (vl,v2). The cosine                        if vj;.movement             =
                                                                                                                 moving then
similarity can then be defined as: M        =

                                                Tae
   In Section 7, we demonstrate that this simple approach
                                                                                       (S,         Y)
                                                                                       continue next:
                                                                                                         —
                                                                                                             updateTrans(S,          NULL, 7, ti, move)

successfully captures a large amount of a user’s daily move-
                                                                                     z+  Z.classify(v,)
                                                                                     if z~A NULL then
ments, and hence provides a reliable input to the subsequent                           z.update_parameter
mining components.                                                                                    updateTrans(S,
                                                                                                         —
                                                                                                                                     2,7, ti,   stay))
                                                                            10:      else
5.2      Stationary State Learner                                           11:    Z.newCluster(v;)
                                                                            12: RETURN           (Z,S)
   The goal of the stationary state learner is to efficiently
and accurately determine the stationary states, which can
then be used for the purpose of modeling state transitional
                                                                                            Figure 2: Incremental state learner
behavior. Figure 2 outlines the algorithm. (Note that, in
this section we focus on discovering and maintaining the
stationary states Z   =            and postpone discussion of
                                                                            5.3.     Modelling Transitional Behavior
                                                                               While mining stationary states, we also incrementally learn
the transitional behavior until the following section.)
                                                                            and update a transitional state model, as shown in Figure 2,
   The algorithm begins by initializing the stationary states
                                                                            line 4 and line 9. The goal of this model is to predict fu-
Z        At atime instance i, the movement detector decides
                                                                            ture transitional states given past observations. To achieve
if the stream input v; belongs to a stationary state. If so,
                                                                            this goal, we must first determine the temporal representa-
the learner checks if the input belongs to an existing state or
                                                                            tion. In Section 5.3.1, we introduce a process for extracting
is anew state. Ifit is found in state    it updates the cluster
                                                                            time features. Based on these features, we propose an incre-
representation; otherwise, a new cluster Znew is added to the               mental learning algorithm in Section 5.3.2 that models the
stationary states.                                                          transitional behavior of a user.
   The key component to this algorithm is the classification
process at line 6. Essentially, it computes the posterior dis-              5.3.1      Temporal Feature Extraction
tribution of            Each input can be decomposed into
                                                                               A temporal feature has a fixed number of domain values
a set of feature-value pairs, also called attribute-value pairs.
                                                                            that represent some semantic concepts of time. For exam-
For example, a WiFi signal input v can have a set of k WiFi
access points or SSIDs        ...az}, where each of the SSID
                                                                            ple, a feature can have              {morning, afternoon, evening}
                                                                                                                                         as

                                                                            its domain values. Table 3 lists an example set of tempo-
can be treated as a binary feature, and the input represents
                                                                            ral features that are used in this paper. Notice that Each
a set of visible SSIDs (i-e., v;   {a1...an}). The posterior
                                   =

                                                                            temporal feature has a unique ID, and each value of a fea-
distribution can be
                       estimated   as:
                                                                            ture also has a unique ID. In this paper, we use very general
  Pr(z|vs)   =




                   zeal
                 dejar
                             est
                                Priel)
                            XTTGZEy Pr(esle;)                               features, but domain specific features can be easily added.
   The conditional independent assumption Pr(ai...ax|z)         =              At a given time instance ¢, it is possible to have multi-
       Pr(a;|z) is similar to the Naive Bayes (NB). It is a rea-            ple matching temporal feature-value pairs. In this case, we
                                                                            want to select only those that are discriminative or impor-
sonable assumption since sensor features           (e.g.,
                                                  WiFi SSIDs),
                                                                            tant. We use a precedence graph to encode the importance
very often, are independently installed. Given the posterior
distribution of             we can take the best class/state for            relationship. The graph defines a partial-order for all the
the current input. We can then use an accuracy threshold                    temporal feature-value pairs. The extraction process then
7 to establish the quality of the classification. If the best
                                                                            works as follows: map the time instance to all possible tem-
state has the posterior probability less than the threshold,                poral feature-value pairs, then use the precedence graph to
we do not assign the state label, and a new cluster is created
                                                                            eliminate those values that are dominated.
                                                                               The following example illustrates the process of extracting
(line 11). The model parameters Pr(a,|z) and Pr(z) can be                   time features. Suppose the time instance “8 A.M. on Jan.
easily updated at line 8.                                                         is a normal workday morning. This instance matches
   The above approach works when each Pr(a;|z) 4 0, oth-
erwise the likelihood probability for the input vector                      two feature-value pairs: “F1:Morning” and “F4:Non-vacation”.
becomes 0. We handle this case in two different ways. In                    According to our precedence graph (Figure 3), “F1:Morning”
                                                                            is more discriminative than “F'4:Non-vacation”, so it is used
the first scenario, if a large portion    (e.g.,
                                             70%) of the terms              as the the final time feature. Table 4 shows additional ex-
in a input vector are missing from a cluster z, the likelihood
probability for that cluster becomes 0. Furthermore, if like-               amples of this process.
lihood probabilities for all the clusters are 0, a new cluster                 In the end of the extraction process, only the set of im-
will be generated. In the second scenario, only a small por-                portant feature-value pairs             are left to represent

tion of the terms in the input vector are missing given a                   the time instance ¢. In our experiments, we empirically eval-
cluster z, each of the missing term a, is assigned with a                   uate different combinations of time features, and show that
                                                                            even with a few simple features, we can achieve very good
small likelihood probability + to the cluster. This way, the
overall likelihood will remain positive.                                    prediction accuracy.

‘In this paper, we simply assign
stream   inputs observed so far.
                                       am where |A| is the size of

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 ID   | Value ID:Value                                                                Time                  Matched Value            Final Value
 Fi   | {vi:Morning, v2:Afternoon, v3:Night}                                          8AM Jan-09-09       | {Fli:vi, F4:v9}         {Fi:v1}
 F2   | {v4:Weekend, v5:Non-weekend}                                                  8AM Jan-10-09       | {Fliv1, F3:v5, F4:v9} | {F3:v6}
 F3   | {v6:Weekend-morning, v7:Weekend-afternoon, v8: weekend-night}                 8AM Jan-12-09       |          F4:v9}         {F4:v9}
 F4   | {v9:Vacation, v10:Non-vacation}
                                                                                   Table 4:    Example: Temporal feature extraction
                Table 3:       Temporal features
                                                                              Input: 8, Zform, Zeurrent; Y, time tick: movernent
                                                                              Output: Transitional States S, zf-om, Duration +
                                                                              lyeoystt
                                                                              2: if Zeurrent  NULL OR Pr(zeurrent) < minsup then
                                                                                                  =



                                                                              3:    RETURN (S, Zfrom,
                                                                              4: if movement    move then
                                                                                                      —



                                                                              5:    Zfrom — *from
                                                                              6: else
                                                                                      if Zfrom # NULL then
                                                                              8:              (2fromsZeurrent)
                                                                              9:        Zfrom      NULL
                                                                              10:     else

   Figure 3: Temporal feature precedence graph
                                                                              11:       s—
                                                                                               (Zeurnends Ponmnemd.)
                                                                              12:     S.update_parameters(s, y,t)
                                                                              13:     yO
5.3.2      Transitional State Learner                                         14: RETURN              from,
   There are two types of transitions: self-transition and
transition between two different stationary states. In a tran-                               Figure 4: Algorithm UpdateTrans
sitional model, the state space S consists of all the possible
pairs of stationary states (i.e., S {(z, z;)}). Figure 4 out-
                                                                              Je N(p,o)dx           The parameter p and o can be learned
                                                                              from historical data, as illustrated in the following example.
                                     =



lines the algorithm for updating the transitional states. The                 Assume the subject is currently in a stationary state z at
algorithm takes inputs of the current transitional model (S)                  time ¢;. From the past data, for a time feature value of
and a pair of stationary states: the previous stationary state,
                                                                              (e.g., “F1:Morning”),   we know that the subject stay in z for
Zfrom, and the current stationary state, Zeurrent. The algo-                  20 minutes on average (i.e.,        20) with standard deviation
                                                                                                                     =


rithm starts by evaluating the significance of the current sta-               of 5 minutes (i.e., 0     5). If the subject has already stayed
                                                                                                           =


tionary state Zcourrent. The probability Pr(zeurrent) is also                 in z for 25 minutes, the probability of remaining in 2 reduces
known as support [2]. If the support of the stationary state                  to 16%, which also means that the probability of transiting
is bigger than a predefined minimum support, it is regarded                   to other states is 84%.
as significant. (We evaluate different minimum support set-
                                                                                 Therefore, using the survival probability, we also know
tings in Section 7.) If the stationary state is significant, and              the total probability of going to other transitional states
if the subject is moving at the point of recording, we do not
know the destination yet. We cache the information of the
                                                                              Pr(s                    Depending on the meaning of s;, the
from-state Zfrom and time information at line 5. Once the
                                                                              probability of transiting to other transitional states will be
                                                                              computed differently. In the first situation, s; represents
subject reaches a stationary state, if the movement cache                     moving from one stationary state z1 to another station-
Zfrom is not empty, we form a moving transition at line 8                     ary state 22. Since the destination is specified, Pr(s
(i.e., involving two stationary states). Otherwise, we update                               represents the probability of reaching z2 (i.e.,
the self-transition (line 11) since we know it must transit
from the same state. Given the time and transitional in-
                                                                              8 =
                                                                                   (22, 22)). In the second situation, if s; represents staying
                                                                              in a stationary state, Pr(s               G;) represents the to-
formation, to reliably update the parameters Pr(si+i|si) at                   tal probability mass of transiting to other transitional states:
line 12, we use the temporal features extractor F and past
observations:                                                                 Vetateysy
                                                                              transit to
                                                                                                      =             If we know s; is about to
                                                                                               the duration at s; becomes irrelevant, and
  Pr(si+1|81)    =
                     Pr(s|si,y, F(ts))   =
                                             Pr(s|si, Br).                    hence Pr(s      =
                                                                                                            equals to Pr(s       =       which
                                                           Pi...
  In this equation, y represents the time duration of re-                     can be modeled by a multinomial distribution. The parame-
maining in transitional state s;. It is updated at line 3. A                  ters of the distribution can be maintained on-line when new
set of & temporal feature-value pairs            is obtained                  observations arrived.
as illustrated in the previous section. Since the temporal
feature-value pairs cannot dominate each other, they can be
assumed to be conditional independent. We thus simplify                       6.     PREDICTION COMPONENT
the computation as:                                                              Given a time window that consists of « number of time
                                yaa PrtelesyBs)       og                      ticks. At a time tick t, the prediction task can be formalized
  Pr(s|si,           Be)   =


                                  HEL,
                               PrteglensBy)                                   as Pr(se41...8t+2|80...8¢), which represents the past state
   We now need to know the distribution of
We first estimate the probability Pr(s
                                                     Pr(s|s:,y,
                                                       also
                                                                              observations so...     and future observations              Di-
                                                 =
                                                                              rectly estimating this probability distribution is not feasible
known as survival probability, which is the probability                       since the space for storing the joint distribution is large. In
the subject stays in the same transitional state s; at next                   this paper, we make the first-order Markov chain assump-
time tick. Given a duration value from       we use a nor-
                                                                              tion, such that the probability of observing state s at time
mal distribution to model it: Pr(s           =                     =
                                                                              tick ¢ is only conditional dependent on the state at ¢— 1.

2To further simplify the computation, we assume the uni-                      *When the number of the observations for s; is small, we
form conditional prior          for the temporal features.                    use uniform distribution instead.




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     The prediction task can then be simplified as:




                                                                                                           pe
     Pr(si41..-8tp2|80...     =
                                       Pr(se41|8)
The first-order Markov assumption is reasonable since, in
                                                                                              Percy omy                                      |}
practice, our next location is highly associated with the cur-
rent location, but less so for the previous locations. Since
                                                                                                                         2
in Section 5.3.2, we have already derived an efficient algo-                                                   “On   (        Of
rithm for computing Pr(s:+i|s;), the prediction task be-
                                                                                               \       /
                                                                                                   21,01
                                                                                                                                                  Time
comes feasible.    We separate the prediction task into two                          tL             t2                   B            end
sub-problems. The first problem is to predict the most prob-               Figure 5: An example of Temporal Range Query
able transitional state s at current time ¢. The second prob-
lem is to predict the most probable state sequence for the                   Type         User                           User2                    User?

time window «. If we can solve the first problem, we can
                                                                                      Ffrec #dim                     Ffrec #dim             Ffrec        #-dim
                                                                             GSM      88,204             64350,995           1,137 | 67,777               625
use its solution for the second problem.                                    WiFi      41,995        2,936 | 23,818           3,669 | 34,921              3,718
   For the first problem, there are two possible scenarios. In
the first scenario, at the point of prediction, the movement                                       Table 5: Data sets
detector does not detect any movements, so the stationary
learner will predict one of the stationary states z;. There-
fore, the transitional state s, represents a self-transition
                                                                                Experimental Setup
                                                                             In this paper, we focus on GSM and WiFi sensor data,
se   =
       (zi,z%). In the second scenario, the movement de-                  because these two types of data have clear location sense
tector reports the subject is on the move; at query time,
                                                                          and are widely available. To evaluate the effectiveness of our
we will not know s;, we only know the last self-transitional

state. In this case, the prediction starts from the last self-
                                                                          approach, we have been continuously monitoring 3 users for
                                                                          a period of 66 days (12/25/2008 to 02/28/2009).
transitional state. The time interval from the last station-
                                                                             The data collection client is implemented using Python
                                                (e.g.,
ary state is discretized into a set of time ticks     every 10            for $60, and runs on Nokia $60 series mobile phones. The
minutes). Since we follow the first-order Markov assump-                  client periodically uploads the data to a server. The overall
tion, we can apply the well-known Viterbi algorithm [10] to               service is also known as Nokia Simple Context service [1].
compute the most probable transitional state at query time                Figure 6 shows a screen capture of the client running on a
t. The Viterbi algorithm is a dynamic programming algo-
                                                                          Nokia N95 mobile phone. The client is highly customizable,
rithm for computing Viterbi path, which corresponds to a
                                                                          with the capabilities of monitoring multiple sensors (GSM,
state sequence with maximum probability. Let us assume
at query time ¢ there are m time ticks since the last sta-
                                                                          WiFi, GPS, Bluetooth, and etc.) at the same time. One
tionary state, and the best state at time has probability:                interesting feature of the client is an adaptive GPS, which
                                                                          uses the same movement detection algorithm described in
P =max(Pr(s,)). We can then define the states at each
                                                                          this paper to control the GPS sensing. It can smartly turn
time tick 2 as: Pr(s;)   =
                           max(Pr(s;|8<-1)). For the starting             on the GPS when the device is on the move, and switch it off
state      we set Pr(si  =
                            21) =1 and Pr(si 4 21) 0 since
                                                      =

                                                                          otherwise. Although we only use the GPS data to geo-locate
it starts from a known stationary state 21.
                                                                          the WiFi and GSM signal sources, it is possible to further
   For the second problem, instead of returning the most
                                                                          utilize the GPS data in the state detection algorithms, but
probable transitional state, we return the Viterbi path. Given            we leave this for future work.
the query end time we divide the time from the last known
stationary state into m time ticks, and output the state se-                 Figure 7 shows the server side interface of the last a few
                                                                          records of a user. Once the data is stored on the server,
quence with the maximum probability. In Figure 5, we il-                  various APIs can be used to retrieve the data. Note that,
lustrate a temporal range query. In this example, we have
four time ticks. Each node in this graph represents a tran-               although our models are built on a PC, the code can also be
sitional state s. If s is a self-transitional state, we repre-            directly run on the mobile client in a real-time mode; how-
sent its stationary state only as z; otherwise, s is a pair of
                                                                          ever, we use a standard PC to benchmark the performance

stationary states. In each node, we also keep the previous                against other alternatives.
best node/state and the probability of reaching the current                  During the measurement time period, thousands of dis-
                                                                          tinct WiFi access points and GSM cell [Ds have been ob-
node. Therefore, at the end of the query time tick, we have
                                                                          served. Based on one user’s data, if we geo-locate some of
the transitional state (23-22). If we backtrack using the
                                                                          the GSM and WiFi signal sources (i.e., Figure 8 and Fig-
previous best node, we can obtain the best sequence to be                 ure 9), we notice that they cover a very large spatial region.
                  (23),             which means that the sub-
                                                                          We also notice that it is not sufficient to use only individ-
ject will transit to the stationary state 23, and then start
transiting to the stationary state 22.
                                                                          ual signal sources       (e.g.,
                                                                                                    a GSM cell ID) to represent a sta-

                                                                          tionary state, because many of these signal sources do not
7.       EXPERIMENTAL EVALUATION
                                                                          correspond to the stationary states                (e.g.,
                                                                                                                      discovered during
                                                                          commutes), and many of them represents the same station-
   In this section, we experimentally evaluate the effective-             ary states (e.g., multiple WiFi access points in one scan).
ness and  efficiency of the proposed algorithms. In Section 7.1,             Table 5 summarizes the data sets recorded over a period
we focus on the data collection and evaluation techniques.                of two months. The table shows the total number of records
The prototype of our system has been implemented using                    and the number of distinct signal sources for each user. No-
Python. The run time reported in this paper are measured                  tice that the number of records for WiFi is less than GSM,
from a P4-2 GHz PC with Linux OS. For comparisons, the                    this is because a WiFi scan is more power consuming than
LDA and HMM models are generated utilizing the various                    a GSM scan, and hence WiFi scans are done at slower rate

statistical tools from Matlab.                                            than GSM scans. For our users, WiFi scanning rate is set at




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we Nokoscope
     Research Client
bt; 15 devices found
                                   AT&T
                                          Interne
abi
gps: Detecting movement                                                                                                  [posttads|   advanced vast» key-valuetables

 gsm: 7 bars                                                                                                                                                                   naman


 sys: battery 100%                                                                                                                                             unload this result oat |

tags                                                  gem:         fell id: 20915,
                                                                  ‘signal: 7)        ‘networkcode’   410, ‘sres_eode':

wian: 17 devices found
accel
call_log
contacts
media_play
process
Options                  More                    a                     7
                                                                           208175, network_code" 410, “area_code': 802, “signal_dbm 82, “ecuntry_code’




Figure 6: Client                                                                                     Figure 7: Server                                                                                     Figure 8: Cells                                                  Figure 9: SSIDs

        Component                                                                      Parameter                                                          Values
                                                                                                                                                                                                 7.3            Performance of Stationary State Learner
        Movement detection                                                                             10%
                                                                                       movement threshold
        Stationary state learner                                               New cluster threshold | 10%                                                                                          In Figure 11, we show the total number of the station-
        Transitional state learner                                           | Cluster Min Support     1%                                                                                        ary states discovered by User! in different days. It clearly
                                                                                       Temporal Features                                                  Table 3
                                                                                                                                                                                                 demonstrates that our stationary state learner can incre-
        Prediction Module                                                              Time tick                                                          10 mins.
                                                                                                                                                                                                 mentally discover new stationary states as data arrives. We
                                       Table 6: Default parameters                                                                                                                               also notice that the number of WiFi states are larger than
                                                                                                                                                                                                 GSM states. This is also expected since many places nowa-
2 to 5 minutes, and GSM           rate is set at 30 seconds                     scanning                                                                                                         days have free WiFi access, but many of these access points
to 2 minutes. In the reminder of this section, we focus on                                                                                                                                       might be under the same GSM cell. In Table 8, we summa-
                                                                                                                                                                                                 rize the total number of the stationary states discovered by
 User1’s data to understand how well each component works.
                                                                                                                                                                                                 all 3 users.
We use all users’ data to summarize the overall performance.
   In table 6, we show the default. parameter settings used by                                                                                                                                     1


tLoc. For different components, the parameters have differ-
ent sensitivity. For instance, the threshold settings in move-
                                                                                                                                                                                                       Hk Xx
ment detection and stationary state learner are less sensi-                                                                                                                                       og


tive than the parameters used by transitional state learner.
Therefore, in the later part of section, we evaluate perfor-                                                                                                                                             top. —+—
mance sensitivity to the parameters.
                                                                                                                                                                                                         top2                                                         08   top]
                                                                                                                                                                                                         top3                                                              top 2
                                                                                                                                                                                                         top4                                                              top
                                                                                                                                                                                                         tops                                                              top4
                                                                                                                                                                                                  08     fp ees                                                       05   top
                                                                                                                                                                                                         5     10   18   20.   25   80   85   40   45   50   55                    10   15    20   25   80   85   40   45   50   55
   od
            wWiri
            GSM
                                                                                                     90 Wei         ot
                                                                                                                                                                                                                                     days                                                                days


                                                                                                                                                                                                       Figure 12: CDF of top states (GSM and WiFi)
   a5




                                                                                                     eb
                                                                                                                                                                                                    The next question is that how these stationary states dis-
                                                                                                                                                                                                 tributed. In Figure 12, we shows the cumulative probabil-
   oF
                                                                                                     4of
                                                                                                                                                          jeemnocnnne te                         ity of top-1 to top-k stationary states for User/ in differ-
                                                                                                     mae                                                                                         ent days. Both GSM and WiFi has a big stationary state
  0.05                                                                                                                                                                                           that consistently has more than 50% of the probability mass.
       ob                                                                                              Ge
                                                                                                                                                                                                 After going through the state manually, we can clearly con-
                    ge
             510         18   20   2   80   a    40   45     50     55     GO                                 5    10      15   20    26   30   96   40   45   50         60
                                          days                                                                                              days
                                                                                                                                                                                                 clude it corresponds to the Home state. When we take top-5
                                                                                                                                                                                                 for WiFi and top-6 for GSM, the cumulative probability is
Figure 10: Movement ra- Figure 11: Num. sta-
tio(days)               tionary states (days)                                                                                                                                                    consistently more than 95% for each day. These states cor-
                                                                                                                                                                                                 respond clearly to Work, and other frequently visited places.
                                                                                                                                                                                                                                         Type Usert                   User2        | User?
7.2                 Performance of Movement Detector                                                                                                                                                                                     GSM                 9.2%    16.2% | 10.1%
    To show the effectiveness of the movement detector, in                                                                                                                                                                               WiFi                12.4% | 24.9% | 14.2%
Figure 10, we show the daily movement ratio for User!. We
can see that movements are not limited only to the week-
                                                                                                                                                                                                                    Table 7:                   Avg. movement ratio per day
ends, but week days as well. After consulting the user, we                                                                                                                                                                               Type                 Usert   User2        | User3
confirm the movement detector can correctly capture large                                                                                                                                                                                GSM            | 46          95                 58
movements especially for commuting to different locations.                                                                                                                                                                               WiFi           | 86          109                83
In Table 7, we compute the average movement ratio per day
for all users. We notice that the WiFi input stream can                                                                                                                                                             Table 8: Total num.                                stationary states
capture                   than the GSM stream. This is
                         more movements
                                                                                                                                                                                                                                         Type Usert
because that a WiFi access point normally has smaller spa-
                                                                                                                                                                                                                                                                      User2        | User?
                                                                                                                                                                                                                                         GSM                 6        23                     10
tial coverage than a GSM cell, and hence more sensitive to                                                                                                                                                                               WiFi                5        24                     12
the movements. However, the difference is not very large,
which indicates GSM cells can also be used for movement                                                                                                                                            Table 9: Num. clusters est. for HMM and LDA
detection.
                                                                                                                                                                                                   Since HMM and LDA learners are not incremental learn-
                                                                                                                                                                                                                          we give the full advantage to
                                                                                                                                                                                                 ers, to compare with them,




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          400                          emma                 250                          HMM occa
                                                                                                            12
                                                                                                                  fit
          aso
                                 LDA
                                 Leo          |
                                                                                   oxy

                                                                                          LDA                     tik
                                                                                                                     3
                                                                                                                  tick
                                                            200
                +




          250   +
seoonds




                                                  seconds
          200   +




          jee




                                                                              pone
                                                            300       +




          100
                                                             sof                                                                                                                  o2b




                    =    user2
                                                                  %
                                                                          1    2
                                                                                                                                                                                          5     10        15    20   2     90
                                                                                                                                                                                                                          days
                                                                                                                                                                                                                                  95    40    45    50    58




                                                                                                           Figure 15: Accuracy     Figure 16: Accuracy Qt1
Figure 13: Model build Figure 14: Model build                                                              by days for User1 (GSM) by days for User1 (WiFi)
time (GSM)             time (WiFi)
                                                                                                                  tick                                                                  ibk
                                                                                                                  tick   ~


                                                                                                                                                                                        tick


these learners, such that we train HMM and LDA with the
                                                                                                            08H
                                                                                                                                                                              0.8 F
full set of data. Another difficult question is to decide the
number of clusters for HMM and LDA. There are different
heuristics proposed in the literature. In this paper, we can                                                                                                                  o4



provide very good estimations by utilizing the results from                                                 o2b


iLoc. The number of clusters for HMM and LDA is based
                                                                                                                                                                                                                     ke




                                                                                                                                                         i
                                                                                                                                    i                    Heal                     le           de


                                                                                                                               at   2          85   40   45     50   55                        10    15        20    2    a0     85    40    46    50    55
on the top stationary states that cover 95% of the station-                                                                             days                                                                             days

ary time of a user. The intuition is that, if HMM and LDA                                                  Figure 17: Accuracy Qt2 Figure 18: Accuracy Qt2
can outperform zLoc, it should discover a similar set of sta-
                                                                                                           by days for User1 (GSM) by days for User1 (WiFi)
tionary states. We go through the process for each users, in
Table 9, we show the number of clusters for different users.                                               the movement detection algorithm, and two types of queries
                                                                                                           are formed.
Lastly, to apply HMM and LDA effectively, we also need
to determine the number of iterations. For HMM, we set
the maximum number of iterations to be 100. For LDA, we                                                                  Type                   User                        User2                                        User3
                                                                                                                                        Qti                  Qt2 |                      Qt2 | Qtl                                     Qt2
use Gibbs sampler approach to training the LDA model [5].                                                                GSM                                 272                        142                                            102
                                                                                                                                                                          4,832               5,292
Gibbs sampling approach has been shown to be more ef-                                                               WiFi                7,058                359          4,409         181   5,307                                    124
ficient than variational EM [3] and producing comparable
results. The number of the iterations for the Gibbs sampler                                                                                Query load
                                                                                                                                                Table 12:
is set to be 500.                                                                                             The first query type is called non-moving query (i.e,
   Figure 13 and Figure 14 show the model building time for                                                Qt1), such that if a user is not moving, we form a time range
each user. Even with 100 iterations, HMM takes the longest                                                 query of 60 minutes. Our predictor, will predict at every 10
time to train. We also show that our incremental leaner is                                                 minutes intervals until the user starts to move again or the
about 2 to 10 times faster than LDA with Gibbs sampling.                                                   60 minutes prediction window elapses. The accuracy will
The performance gain is mainly due to zLoc is an one-pass                                                  be computed at each time tick by comparing the predicted
algorithm, and others require multiple iterations.                                                         transitional state s against the stationary state zo, such that
   Next, we want to examine the quality of clusters from dif-                                              it is correct if s represents the self-transition s   (Zo, 20).                                                       =



ferent learners. Since for Useri we have decided to use top-5                                                 The second query type is called moving query (i.e.,
clusters (WiFi stream) for HMM and LDA, in Table 10, we                                                    Qt2), such that if the user is on the move, starting from the
show the top-3 WiFi access points from each cluster algo-                                                  most recent stationary state zo, we form a time range until
rithm. To the user, these access points can be easily asso-                                                the user reaches another stationary state z,. During this
ciated with some semantic meaning. In Table 11, we ask                                                     time range, we predict at every 10 minutes interval. The ac-
the user to look at the top-10 access points and tag these                                                 curacy will be measured at each time tick by comparing the
cluster. For zLoc, the user is able to identify several interest-                                          predicted transitional state s against the correct transition
ing places, including home, work and a friend’s home. Also,                                                between two stationary states zo         21      if s   (20, 21)).      —                                                  =



tLoe correctly clusters the WiFi access points near his usual                                              Table 12 shows the query load for both types of queries.
lunch and Gym locations. Table 11 also shows the prior                                                          In fact, these two query types cover many use cases. A
probabilities of each cluster, which represents the degree of                                              non-moving query essentially asks how long a user will be
importance of each cluster. After consulting with the user,                                                staying in the same stationary state, and a moving query
he agrees with the assignment. However, HMM and LDA                                                        asks if a user is about to transit and to which stationary
cannot clearly separate these states. For example, Home                                                    state. If «Loc can consistently provide accurate predication
appears in a few clusters. If use these clusters as station-                                               for both queries, it can be utilized for many real-life appli-
ary states, it will severely affect the transitional model, and                                            cations           (e.g., Ad-serving).
lead to poor prediction performance as we will show in the                                                   Although our models are fully incremental models, we do
next section. We also go through the same exercise for other                                               not apply the prediction tests on the initial days (i.e., from
users, similar clustering behaviors are observed.                                                          12/25/2008 to 12/31/2008). We only use these a few days to
                                                                                                           bootstrap the models. This way, we start with a reasonable
7.4                 Performance of Transitional State learner                                              prediction model. The predictions are performed continu-
   To fully test out the transitional model and the prediction                                             ously on exactly two months of data (i.e., from 01/01/2009
framework, we form a continuous set of online prediction                                                   to    2/28/2009).
queries. In this online setting, we sequentially re-play the                                                 For the predictions, if a predictor refuses to make a pre-
inputs from a data stream. At each sampling point, we apply                                                diction, we consider the predictor does not have sufficient



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                          Methods   | Statet                State2         State?               State4       Stated
                          aLoc            YY Home,          WANO,   HotelWireless,       Aquarium, | glenbrook,
                                      Disha,                        Multi-Point_Acess, | linksys,
                                                            Kelevala,                                homelinksys,
                                       Dua                  noklabwlSEASONS_INN         Arthur       Kwan AP
                          HMM         YY Home,                      YY Home,
                                                            Kelevala,                    Aquarium, | Aquarium,
                                       Disha,               WANO,
                                       HotelWireless | noklabwl
                                                                    Hotel Wireless,      dungeon,    dungeon,
                                                                    Dua                  Due Net     WANO
                          LDA         WANO,            YY Home,     Disha,               Lee9,       YY Home,
                                       Kelevala,      Disha,        YY Home,             YY Home, | Dua,
                                       noklabwl        Gammavista | Dua                  Gamavista | Disha


                                                          Table 10:     Top 3 SSID (WiFi)
                Methods| Statel                 State2           State?          State                     StateS
                iLoc         Home (71%)     |   Work (22%)   |   Lunch (2%)   | Friend Home (1.5%)       Gym (0.3%)
                HMM          Home (49%)     |   Work (26%)   |   Home (18%)   | Friend Home, Work (6%) | Friend Home, Work (1%)
                LDA          Work (24%)     |   Home (19%)   |   Home (19%)   | Home (19%)               Home (19%)


                                                       Table 11: State Location (WiFi)


       State
              | 37%
                          veaiee
                          0%
                                    teabes
                                    63%
                                                ittates
                                                0%        | 0%
                                                            tae
                                                                                    After having some understandings on how prediction works
       State2 | 0%        90%       0.0%        0.1%       0%                    for one user, in Table 14, we show the overall accuracy mea-
                                                                                 sures for all users under different approaches, and different
       State? | 82%       10%        1%         7%         0%
       State4 | 0%        05%      | 05% | 36%             63%                   parameter settings. The first row shows the accuracies of
            |   Wh                                         aif
                                                5
       siete)
                                                                                 iLoe with the default parameters (i.e., Table 6). If a method
  Table 13: HMM State Transition Matrix (WiFi)                                   has better performance for a query setting, the result is high-
                                                                                 lighted. This way, we can easily compare the performance
information to make the prediction, and it is not part of                        of different approaches.
the query load. This is reasonable since the goal is to have                        Table 14 has three parts. In the first part, we compare the
very accurate predictions rather than very broad ones. To                        performance of iLoc against HMM and LDA. Both HMM
                                                                                 and LDA are not suitable for our prediction task. LDA
gain some insights to the prediction process, we first take
a detailed look at daily prediction for User1. If there’s no                     only provides clustering information, which can be used as
predictions made for a day, we treat it as correct choice (i.e.,                 stationary states. HMM requires observations to infer the
                                                                                 hidden states, whereas for us, at the query time instance, we
100% correct for the   day).                                                     do not have future observations yet, but we would like to in-
   In Figure 15 and Figure 16, we show the average predic-
tion accuracy on each day for Useri with the query type                          fer the state sequence. Although HMM provides transitional
      We noticed that predictions based on GSM stream is                         probability distribution for different states, these transitions
                                                                                 are mostly for self-transitions. If we would run Viterbi algo-
not as good as WiFi stream. The main reason is that GSM
cells cover larger spatial regions. For          it mainly tests                 rithm, it will always end up with the same state. To illus-
                                                                                 trate this, in Table 13, we show the transition matrix from
the self-transitions for different stationary states. The sta-
                                                                                 a HMM model. From the matrix itself, we can observe some
tionary states from GSM stream can sometimes mix-up real                         transitions other than self-transition. For instance, state/ is
stationary states if they are nearby. As the result, the self-                   able to transit to state? with 63% of probability. However,
transition model for GSM is not as good as the one from
WiFi. However, even in this situation, for GSM, Loc is still                     given the semantic meaning of the states shown in Table 11,
                                                                                 we notice that they are essentially the same state. Similar
able to achieve 62% overall accuracy. For WiFi stream, it
                                                                                 conclusions can be drawn for other transitions. Therefore,
performs very well, and achieves 73% overall accuracy.
   Similarly, in Figure 17 and Figure 18, we show the av-                        to have a fair comparison, we only use the  cluster/stationary
                                                                                 states from LDA and HMM, and plug them into our transi-
erage prediction accuracy on each day for Useri for query
                                                                                 tional model and prediction framework. As we can observe
type Qt2. We observe that for some days, the accuracy is                         from the results, especially for the query type Qt2, instead
not so good (i.e., close to 0). After consulting with the users,
it turns out that these days mostly are weekends and vaca-                       of unable to predict transitional behavior, we have some
tions. Predicting these days are challenging due to irregular                    predictions for HMM and LDA. However, the accuracy is
movements. However, being able to differentiate these days
                                                                                 still far behind the :Loc with default parameters (i.e., iLoc-
from normal week days can improve the prediction accuracy.                       default in the table). This can also be observed from the last
Another observation is that GSM predictor is again worse                         column of the table, which shows the average accuracy for
than WiFi predictor. Therefore, it is important that the                         the corresponding method. We would like to note that since
                                                                                 the full set of data are used to train HMM and LDA, any
stationary learner can discover the stationary states accu-                      incremental learning methods for HMM and LDA cannot
rately. Overall, zLoc predictor based on WiFi stream is able
to achieve 84% prediction accuracy, and GSM stream gets                          outperform the results shown in this paper. Furthermore,
25%. To clearly show the impact of the query time window,                        being able to easily plug-in different clustering methods, we
we only plot the query time windows at 10, 30, and 60 min-
                                                                                 have demonstrated the flexibility and openness of our overall
utes (i.e., tick1, tick3, and tick6). Since the lines are largely
                                                                                 framework.
                                                                                    The second part of the Table 14 shows the accuracy of Loc
overlapped for both types of queries, it means both predic-                      when we vary the min-support parameter. We have tested
tors (GSM and WiFi) can make reasonable predictions for
the time range up to an hour. This is sufficient to many ap-                     4 settings (0%, 1% default, 2% and 5%), which correspond
                                                                                 to tLoc-0, tLoc-default, ¢Loc-2, and «Loc-5. The higher the
plication scenarios, for which predicting a user’s behavior for
the next hour is critical for the recommendation purposes.                       min-support, less number of stationary states are considered


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                                                                      Userl                                      User2                                           User3

         Methods                                                Qtl | GSM WiFi | GSM    Qti                    | GSM
                                                                                                             Qti                               | GSMQti    Qti | Qt2                Qt2 || Average
         iLoc-default
                                                  GSM
                                                  62%
                                                                WiFi
                                                                    |
                                                                73% | 25%
                                                                               |
                                                                          84% | 62%
                                                                                                               |
                                                                                                               WiFi
                                                                                                           64% | 26%
                                                                                                                                           WiFi
                                                                                                                                               |
                                                                                                                                           44% | 71%
                                                                                                                                                           WiFi
                                                                                                                                                               |
                                                                                                                                                           79% | 68%
                                                                                                                                                                                    WiFi
                                                                                                                                                                                    81% || 61%
         LDA                                      49%           72% | 18% 22%    [55%                      Wa% | 6%                        2%       61%          5%                        37%
         HMM                                                    66% |     21%    [46%                             20%                               58%    73% | 2%                 21% || 39%
         iLoc-0                                   59%               | 9%
                                                                72% | 27%
                                                                          2%   | 61%                       67%| 6%                         25% |    70%    74% | 42%                41%    47%
         iLoc-2                                  68%                      90% | 61%                        63% | BB%                       BO%             70%                      91% || BT%
         iLoc-5                                   50%           73% | BB% 98%| 48%                         60% [| 52%                      72% | 68%       79% | 81%                93%|| 70%
         7Loc-none                               68%            76% | 10% 16% | 66%                        66% | 13%                       35% | 838%      84% | 8%                 10% || 45%
         iLoc-man                                 62%           72% | 25% —BO% [60%                        63% | 24%                       40% | 66%             [66%               81%    60%

                                                                          Table 14: Overall accuracy for different methods
                                                                                      450                                                                                   0.005




                                                                                                      1
                                                                                                OS                                                                         0.0045

                                                                                      50
                                                                                                                                                                           0.004
                                                                                      300
                                                                                                gee
                                                                                                                                                                           0.0085

                                                                                      sab                                                       4




                                                                                                                                                                 seponds
                                                                                                                                                                           0.0025

                                                                                                                                                                            0.002

                   GSM: user
                   GSM: user12                                    =


                                                                      4
                                                                                                @SM:user
                                                                                                GSM user
                                                                                                                                                                           0.0015


       $8000   -
                        user
                   WEI: user   8   se                                                  SOP      GBM user3
                                                                                                WIFI user1
                                                                                                                                                                            0.001


                          uger28                                                                           2
                   WIFI user                                                            OF      WIL user                                                                   0.0005
                   WiFi                                                                         WiFi:
                                                                                                     user
               0           1                           3    4         5                     0         1           2
                                        min   support (%)                                                        Thin   support @)                                                         WiFi   QT2_WiFi




        Figure 19: Num.                                                                Figure 20: Num. Qt2                                                   Figure 21: Query Ex. Time
in the transitional model, and generally increases the predic-                                                                   sensor  inputs to our framework. For instance, we are con-
tion accuracy with the price of not being able to predict some                                                                   sidering to use accelerometer sensor inputs to differentiate
infrequent movements. To further study the tradeoffs, in                                                                         finer grain movements. Secondly, we would like to incorpo-
Figure 19 and Figure 20, we show the number of queries for                                                                       rate signal strength to help us identify smaller stationary
different users with different data streams. We notice that                                                                      states. Last but not least, we would like to conduct larger
as min-support increases, the number of the queries that                                                                         trials to test out our framework.
can be answered monotonically decreases. At min-support

0%, iLoe can answer maximal amount of queries both for                                                                           9.      REFERENCES
 Qti and Qt2, but with the worst accuracy. For Qt/, with
min-support at 1%, iLoc is still able to answer a large por-
                                                                                                                                     1   Nokia simple context service               //simplecontext.com/eb2.
                                                                                                                                         In Nokia Research Center, Palo Alto.
tion of queries with good gain in accuracy. For Qt2, at 1%                                                                           2   R. Agrawal and R. Srikant. Fast algorithms for mining
min-support, the number of queries dropped can be large for                                                                              assocation rules. In VLDB Conference, 1994.
some settings. However, the accuracy gain is dramatic. As                                                                                D. M. Blei, A. Y. Ng, and M. I. Jordan. Latent dirichlet
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5), the number of queries dropped also increases, but the                                                                                M. Chen, T. Sohn, D. Chmelev, D. Haehnel, J. Hightower,
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accuracy gain is only moderate (6% to 9% overall improve-
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use 1% min-support as our default.
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effectiveness and the efficiency of our solution.
   There are several future research directions that we would
like to pursue. Firstly, we would like to incorporate more




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